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                   EXHIBIT 4
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                                                                    Page 4

 1                     UNITED STATES DISTRICT COURT
 2                     EASTERN DISTRICT OF NEW YORK
 3         MARISSA COLLINS, on her      )
           own behalf, and on behalf )
 4         of all others similarly      )
           situated, and JAMES        )
 5         BURNETT, on behalf of his )
           son, and on behalf of all )
 6         others similarly situated,)    Civil Action No.
                                    )
 7                Plaintiffs,    )    2:20-cv-01969-FB-SIL
                                    )
 8         vs.                      )
                                    )
 9         ANTHEM, INC. and ANTHEM UM)
           SERVICES, INC.,            )
10                                  )
                  Defendants.    )
11
12                       VIDEO-RECORDED DEPOSITION OF WITNESS,
13         KEITH ISENBERG, MD, produced, sworn and examined on
14         the 15th day of June, 2022, between the hours of
15         eight o'clock in the forenoon and six o'clock in
16         the afternoon of that day, via Veritext Virtual
17         videoconference, before Tara Schwake, a Registered
18         Professional Reporter, Certified Realtime Reporter,
19         Certified Shorthand Reporter (IL), Certified Court
20         Reporter (MO), and Notary Public within and for the
21         State of Missouri.
22
23
24
25

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                                                                    Page 5

 1         APPEARANCES
 2         FOR THE PLAINTIFFS:
 3                   ZUCKERMAN SPAEDER LLP
 4                   1800 M Street, NW, Suite 1000
 5                   Washington, DC               20036
 6                   (202) 778-1800
 7                   by:     Mr. Andrew Goldfarb
 8                   agoldfarb@zuckerman.com
 9
10         FOR THE DEFENDANTS:
11                   REED SMITH LLP
12                   10 South Wacker Drive, 40th Floor
13                   Chicago, Illinois                  60606
14                   (312) 207-7895
15                   by:     Ms. Rebecca R. Hanson
16                   rhanson@reedsmith.com
17
18                   Ms. Dionne McCoy, in-house counsel
19                   Anthem, Inc.
20
21         VERITEXT LEGAL SOLUTIONS:
22                   TARA SCHWAKE, CRR, RPR, CCR, CSR
23                      Court Reporter
24                   TIM PERRY, Videographer
25                   JEFF GIBBS, Concierge

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                                                                  Page 70

 1         needed to develop and review BH UM guidelines.
 2                         MCG has a process for doing that
 3         that's -- that, as described, is -- was judged to
 4         be equivalent to the work that Anthem was
 5         allocating to the same -- for the same purpose.
 6                  Q      Is there any -- any subgroup or body
 7         with behavioral health expertise within Anthem that
 8         is now responsible for oversight of the MCGs?
 9                  A      It is the responsibility of the
10         Medical Policy & Technology Assessment Committee to
11         make decisions about accepting or rejecting MCG
12         guidelines.
13                  Q      Um, what --
14                  A      The clinical content of the
15         guidelines.     I should be specific.
16                  Q      Does, um, does Anthem customize the
17         MCG guidelines in certain respects?               That's just a
18         general -- a general -- a general first question.
19         Do they -- do they customize them?
20                  A      Yes.
21                  Q      In the area of Behavioral Health
22         level of care guidelines, has Anthem customized the
23         MCGs?
24                  A      Not in the area of level of care
25         guidelines.

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 1         again if you want.
 2                  Q      No, I'm just trying to understand if
 3         there was a document or if they were -- those
 4         characteristics, as you've described, were compiled
 5         somewhere or -- or written down.
 6                  A      Not that I'm aware of.
 7                  Q      When did Anthem begin the process of
 8         considering the MCG level of care guidelines as a
 9         potential replacement for CG-BEH-03?
10                  A      I'm not sure of the precise --
11         precise date but I think it was roughly a year or
12         18 months prior to their adoption.               Something like
13         that.
14                  Q      What prompted the consideration of
15         MCG?
16                  A      The medical-surgical teams used MCG.
17         So given that circumstances -- given that
18         circumstance, um, why didn't BH use MCG also.                That
19         creates a type of internal consistency.
20                  Q      Were there -- were there other
21         non-MCG guidelines used on the med-surg side?
22                  A      Um, so, um, there are Anthem medical
23         policies and UM guidelines, there -- which
24         sometimes result in customization of the MCG
25         guidelines, and, therefore, you basically then have

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 1                         Did -- did you say that on the
 2         med-surg side Anthem was already using MCG
 3         guidelines for a number of -- for a number of
 4         services?
 5                  A      For most utiliz -- for most
 6         medical-surgical utilization purposes.
 7                  Q      Do you know when, um, Anthem had
 8         begun its -- had -- had begun its relationship with
 9         MCG?
10                  A      That's a good question.          I believe
11         they had a relationship with MCG when I joined the
12         company 15 years ago.         But I'm not entirely sure of
13         that.
14                  Q      Do you recall where -- where in
15         Anthem -- strike the question.
16                         Where in Anthem did the initiative to
17         consider the MCG guidelines for behavioral health
18         begin?
19                  A      Um, it was a group discussion.             So
20         um, lots of people participated in the discussion.
21         There were a variety of opinions, and so just
22         starting the discussion, it's not the -- it's not
23         the critical piece.        The critical piece is, okay,
24         well, if you do -- if you decide you're going to
25         give consideration to MCG or any other set of

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 1         guidelines, what does that mean clinically?
 2                         So what are you using now and what
 3         will happen clinically when you use MCG guidelines.
 4         What's your best guess.
 5                         And so you -- you -- the real
 6         important aspect of the work is not the decision
 7         that maybe we ought to look at MCG for these
 8         reasons.     The real important part of the decision
 9         is, well, what does it mean for clinical care?
10                         And you would have -- we did give
11         some consideration to other types of guidelines.
12         The observation was that, um, the switch to MCG
13         appeared to be the less disruptive of -- of -- of
14         clinical decision-making.
15                  Q      And when you say "less disruptive,"
16         you mean internally because -- internally within
17         the -- within the Anthem operations for its -- its
18         daily work reviewing claim requests?
19                  A      It would -- it would also apply to
20         the provider community, meaning that if we make the
21         change, can we -- if I'm talking to a doctor and
22         they say to me, well, you know, six months ago it
23         was CG-BEH-03 and now it's -- it's this MCG thing,
24         how are they any different?             And the answer would
25         be, well, they're not really all that much

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 1         different.
 2                           And, well, then, Dr. Isenberg, how do
 3         you know that?       Well, because we looked into that
 4         and we couldn't find any -- we couldn't find any
 5         differences that we thought would make it -- make a
 6         -- have a substantial impact on the way we
 7         operated.
 8                           And, um, if -- if the doctor said
 9         back to me, well, I disagree, they would have been
10         given information about how to, um, to express
11         their disagreement so that we could take that into
12         consideration as we moved forward.
13                  Q        When you say the conver -- the
14         initial conversation involved a lot of people, what
15         areas of Anthem were involved in that first -- in
16         those -- those early discussions?
17                  A        Medical management, the UM operations
18         folks.       You have to -- you'll have -- you would
19         know that there would have to be some sort of
20         training exercise.        Contracting because you'll have
21         to -- there will be some costs associated with
22         these changes, costs associated with new
23         contracting if nothing else.
24                           Legal, does this increase or decrease
25         or make any difference from a risk perspective,

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 1         consideration of whether it will have any impact on
 2         our accreditation, consideration of whether it
 3         might have some impact on our UM licenses.
 4                          Those are the ones I can think of.             I
 5         think there were other, probably other parties
 6         involved in the discussions.
 7                    Q     And what, um, you said sort of there
 8         was consideration of what the clinical impact would
 9         be.      Of the switch to guidelines; yes?
10                    A     That's correct.
11                    Q     How was that done?
12                    A     So there was a crosswalk created to
13         try to identify differences between MCG and
14         CG-BEH-03.      The other -- the other guidelines as
15         well.      And evaluation of the crosswalks suggested
16         that it wouldn't make much difference clinically.
17                    Q     And who created the crosswalks?
18                    A     I don't -- I don't remember -- I was
19         involved but I don't remember who was responsible.
20         I think it was the Office of Medical Policy &
21         Technology Assessment, if I remember correctly.
22                    Q     But -- but created internally at
23         Anthem?
24                    A     It was created internally at Anthem,
25         that's correct.

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                    EXHIBIT 5
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    Anthem.                                                                           Medical Policy
    Subject:   Medical Policy Formation
    Document #:ADMIN.00001H                                 Current Effective Date:    03/29/2017
    Status:    Revised (Historic as of 12/27/2017)          Last Review Date:          02/02/2017

   IDescription/Scope

    The Office of Medical Policy & Technology Assessment (OMPTA) develops medical policy and clinical UM
    guidelines (collectively, "Medical Policy") for the company. The principal component of the process is
    the review for development of medical necessity and/or investigational policy position statements or
    clinical indications for certain new medical services and/or procedures or for new uses of existing
    services and/or procedures. The services include, but are not limited to devices, biologics and specialty
    pharmaceuticals, and behavioral health services.

    Medical Policies are intended to reflect the current scientific data and clinical thinking. While Medical
    Policy sets forth position statements or clinical indications regarding the medical necessity of individual
    services and/or procedures, Federal and State law, as well as contract language, including definitions
    and specific contract provisions/exclusions, take precedence over Medical Policy and must be
    considered first in determining eligibility for coverage.

    The Medical Policy & Technology Assessment Committee (MPTAC) is a multiple disciplinary group
    including physicians from various medical specialties, clinical practice environments and geographic
    areas. Voting membership includes:

       • External physicians in clinical practices and participating in networks;
       • External physicians in academic practices and participating in networks;
       • Internal medical directors;
       • Chairs of MPTAC Subcommittees.

    Non-voting members include:

       • Internal legal counsel.

    MPTAC meets at least three times per year. Agenda topics are identified, researched, updated, collated
    and distributed to the committee. Input from the medical community is solicited and utilized in
    developing and updating policies. In addition, agenda items are identified from, but not limited to:
    clinical literature, medical operations associates, medical directors, claims operations, external reviews,
    technology vendors, and other technology assessment entities. Decisions are made by a majority vote
    of MPTAC voting members present. Majority representation of the voting committee members must be
    present to constitute a quorum. MPTAC has designated subcommittees for certain specialty topics,
    such as hematology/oncology (Hem/Onc) and behavioral health (BH). Subcommittees are composed of
    specialists in related fields (for example, Hem/Onc includes hematologists, medical oncologists and
    radiation oncologists, and BH includes BH practitioners) and may include external physicians that are




   https://pulse.antheminc.com/webcenter/portal/medpolicy/pages_historicalmedicalpolicydetailview... 8/4/2020
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   Historical Medical Policy Detail View                                          Page 2 of 5
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    not members of MPTAC, but are in clinical or academic practices and are participating in networks. The
    subcommittees shall make recommendations to MPTAC on topics assigned to them by MPTAC.

    MPTAC voting members and subcommittee members are required to disclose any potential conflicts of
    interest. In the event that a MPTAC voting member or subcommittee member discloses a conflict of
    interest, the associated member will not participate in the vote specific to the proposed relevant
    Medical Policy.

    To reach decisions regarding the medical necessity or investigational status of new or existing services
    and/or procedures, MPTAC (and its applicable subcommittees) relies on the medical necessity or
    investigational criteria included in the following policies:

       • ADMIN.00004 Medical Necessity Criteria
       • ADMIN.00005 Investigational Criteria

    In evaluating the medical necessity or investigational status of new or existing services and/or
    procedures the committee(s) may include, but not limit their consideration to, the following additional
    information:

         electronic literature searches, which are conducted and collated results are provided to the
         committee members;
         independent technology evaluation programs and materials published by professional
         associations, such as:
              Blue Cross Blue Shield Association (BCBSA);
              Technology assessment entities;
              Appropriate government regulatory bodies; and
              National physician specialty societies and associations.
            o
    The committee(s) may also consider the service/procedure being reviewed as a standard of care in the
    medical community with supporting documentation.

    The committee(s) is also responsible for reviewing and authorizing the use of Medical Policy used in
    making determinations of medical necessity or investigational determinations which are developed by
    external entities (for example, MCG care guidelines or InterQual® criteria).

    Additionally, for topics deemed to represent a significant change or as otherwise required by law or
    accreditation, the medical policy team seeks additional input from selected experienced clinicians. This
    process allows MPTAC access to the expertise of a wide variety of specialists and subspecialists from
    across the United States. These individuals are board certified providers who are identified either with
    the assistance of an appropriate professional medical specialty society, by activity in a participating
    academic medical center or by participation in a corporate affiliated network. While the various
    professional medical societies may collaborate in this process through the provision of appropriate
    reviewers, the input received represents NEITHER an endorsement by the specialty society NOR an
    official position of the specialty society. MPTAC uses this information in the context of all other
    information presented from various sources.




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    A Medical Policy may be developed and approved between scheduled MPTAC meetings, if in the
    opinion of the Vice President of OMPTA or designee, there is an urgent need to establish a new Medical
    Policy, or revise an existing policy, prior to the next scheduled meeting of MPTAC. The research
    associates of OMPTA will develop the draft Medical Policy and request input from appropriate
    consultant providers, and if applicable, the relevant subcommittee. An ad-hoc interim Medical Policy
    meeting or vote is scheduled to review and vote on the proposed interim Medical Policy. Any policy
    presented on an interim basis (whether approved, modified or rejected) will be presented for full
    review and discussion at the next scheduled MPTAC meeting.

    In the absence of specific Medical Policy, case-by-case individual review is undertaken. A physician
    designated by the health plan, will review the request using the technology assessment criteria and
    appropriate standards that may include, but are not limited to, any of the following: peer-reviewed
    literature, other organizations' technology evaluations including the BCBSA, Agency for Healthcare
    Research and Quality (AHRQ), various medical specialty societies' guidelines and assessments and the
    clinician's professional judgment. Refer to the following policy for additional information: ADMIN.00006
    Review of Services for Benefit Determinations in the Absence of a Company Applicable Medical Policy
    or Clinical Utilization Management (UM) Guideline.

    All existing Medical Policies are reviewed at least annually through MPTAC to determine continued
    applicability, appropriateness, and whether there is a need for revision, updates to citations, or other
    changes.

    Medical Policies approved by MPTAC are also communicated throughout the company for inclusion in
    the benefit plan and for implementation of supporting processes. These communication processes
    include:

       • Attendance of key associates at MPTAC meetings;
       • Teleconferences with and written documentation to medical operations associates, medical
         directors, claims and network relations associates;
       • Provision of MPTAC meeting minutes and other relevant documentation to health plan leadership.

    Medical Policy decisions affecting our members are reported by our health plans to and reviewed for
    input by the appropriate physician quality committees, which have the responsibility for reviewing
    MPTAC activities.

    Index

    Medical Policy & Technology Assessment Committee
    MPTAC
    Office of Medical Policy & Technology Assessment
    OMPTA

    Document History
    Status         Date            Action
    Historic       12/27/2017      Not to be used for dates of service on or after 12/27/2017.




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    Revised        02/02/2017      Medical Policy & Technology Assessment Committee (MPTAC) review.
                                   Minor typographical revisions made to the Description section.
    Reviewed       02/04/2016       MPTAC review.
    Revised        02/05/2015      MPTAC review. Clarifications to the Description/Scope section.
    Revised        02/13/2014      MPTAC review. Updated Description/Scope concerning MPTAC voting
                                   membership and specialist/practitioner involvement in the MPTAC
                                   decision-making process.
    Revised        08/08/2013      MPTAC review. Updates to the Description/Scope to include a
                                   statement addressing committee(s) responsibility for reviewing and
                                   authorizing the use of Medical Policy. Additional format revisions and
                                   clarifications throughout the document.
    Revised        08/09/2012      MPTAC review. Clarifications to the Description section with reference
                                   to ADMIN.00004 and ADMIN.00005.
    Revised        11/17/2011      MPTAC review. Clarified names of specific departments within the
                                   organization. Revised wording throughout the document including the
                                   annual review process statement.
    Revised        11/18/2010      MPTAC review. Addition of acronyms for specific organizations
                                   including the Office of Medical Policy & Technology Assessment
                                   (OMPTA) to the Description/Scope and Index. Revised title for
                                   ADMIN.00006 to Review of Services for Benefit Determinations in the
                                   Absence of a Company Applicable Medical Policy or Clinical Utilization
                                   Management (UM) Guideline.
    Reviewed       11/19/2009      MPTAC review.
    Reviewed       11/20/2008      MPTAC review. Removed the word experimental from the
                                   Description/Scope statement.
    Revised        11/29/2007      MPTAC review. Addition of reference to subcommittees.
    Revised        12/07/2006      MPTAC review. Clarification to wording and removal of procedural
                                   information.
    Revised        12/01/2005      MPTAC review. Reference to ADMIN.00006 added; deleted Hayes, Inc.
                                   as reference when there is no medical policy or clinical guideline
                                   available.
    Revised        09/22/2005      MPTAC review.
                                   1. Included statement regarding MPTAC voting member's requirement
                                   to disclose potential conflicts of interest and the reclusion of their
                                   associated vote on the relevant medical policy where a conflict of
                                   interest has been disclosed.
                                   2. Modified wording specific to the section beginning "In the absence
                                   of specific medical policy..." to align with the Settlement Agreement
                                   requirements on Initial Determinations (7.14 a).
    Reviewed       07/14/2005      MPTAC review. Revision based on Pre-merger Anthem and Pre-
                                   merger WellPoint Harmonization.
    Pre-Merger Organizations          Last Review Date                             Title




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                                                               Document
                                                               Number
    Anthem, Inc.                                               No prior
                                                               document
    WellPoint Health Networks,              09/23/2004                             Medical Policy and
    Inc.                                                                           Technology Assessment -
                                                                                   Policy Formation




    Federal and State law, as well as contract language, including definitions and specific contract
    provisions/exclusions, take precedence over Medical Policy and must be considered first in determining
    eligibility for coverage. The member's contract benefits in effect on the date that services are rendered
    must be used. Medical Policy, which addresses medical efficacy, should be considered before utilizing
    medical opinion in adjudication. Medical technology is constantly evolving, and we reserve the right to
    review and update Medical Policy periodically.

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     Anthem.                                                                                      Medical Policy
      Subject:         Medical Policy Formation
      Policy #:        ADM1N.00001                                                             Publish Date:                          12/16/2020
      Status:          Revised                                                                 Last Review Date:                      11/05/2020


     Description/Scope

     The Office of Medical Policy & Technology Assessment (OMPTA) develops medical policy and clinical UM
     guidelines (collectively, "Medical Policy") for the company. The principal component of the process is the review
     for development of medical necessity and/or investigational position statements or clinical indications that are
     objective and based on medical evidence for certain new medical services and/or procedures or for new uses of
     existing services and/or procedures. The services consisting of medical, surgical, and behavioral health treatments,
     may include, but are not limited to devices, biologics, specialty pharmaceuticals, gene therapies, and professional
     health services.

     Medical Policies are intended to reflect current scientific data and clinical thinking. While Medical Policy sets forth
     position statements or clinical indications regarding the medical necessity of individual services and/or procedures,
     Federal and State law, as well as contract language, including definitions and specific contract
     provisions/exclusions, take precedence over Medical Policy and must be considered first in determining eligibility
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    The Medical Policy & Technology Assessment Committee (MPTAC) is a multiple disciplinary group including
    physicians from various medical and behavioral health specialties, clinical practice environments and geographic
    areas. Voting membership may include:
    • External physicians in clinical practices and participating in networks;
    • External physicians in academic practices and participating in networks;
    • Internal medical directors;
        Chairs of MPTAC Subcommittees.

    Non-voting members may include:
    • Internal legal counsel;
    • Internal medical directors.

    MPTAC meets at least three times per year. Agenda topics are identified, researched, updated, collated and
    distributed to the committee. Input from the medical community is solicited and utilized in developing and updating
    criteria. In addition, agenda items are identified from, but not limited to: clinical literature, medical operations
    associates, medical directors, claims operations, external reviews, technology vendors, and other technology
    assessment entities. Decisions are made by a majority vote of MPTAC voting members present. Majority
    representation of the voting committee members must be present to constitute a quorum. MPTAC may designate
    subcommittees when needed, which may include internal or external physicians. The subcommittees shall make
    recommendations to MPTAC on topics assigned to them by MPTAC.


     Federal and State law, as well as contract language, including definitions and specific contract provisions/exclusions, take precedence over Medical Policy and
     must be considered first in determining eligibility for coverage. The member's contract benefits in effect on the date that services are rendered must be used.
     Medical Policy, which addresses medical efficacy, should be considered before utilizing medical opinion in adjudication. Medical technology is constantly
     evolving, and we reserve the right to review and update Medical Policy periodically.

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    Medical Policy                                                                                                                           ADMIN.00001
     Medical Policy Formation
     MPTAC voting members and subcommittee members arc required to disclose any potential conflicts of interest. In
     the event that a MPTAC voting member or subcommittee member discloses a conflict of interest, the associated
     member will not participate in the vote specific to the proposed relevant Medical Policy.

     To reach decisions regarding the medical necessity or investigational status of new or existing services and/or
     procedures, MPTAC (and its applicable subcommittees) relies on the medical necessity or investigational criteria
     included in the following policies:
    •     ADMIN.00004 Medical Necessity Criteria
    •     ADMIN.00005 Investigational Criteria

     In evaluating the medical necessity or investigational status of new or existing services and/or procedures the
     committee(s) may include, but not limit their consideration to, the following additional information provided to
     committee members:
    •     Collated results of electronic literature searches;
    •     Independent technology evaluation programs and materials published by professional associations, such as:
          o Technology assessment entities;
          o Appropriate government regulatory bodies; and
          o National physician specialty societies and associations.

     When reviewing the results of electronic literature searches, the committee may consider study methodology,
     including but not limited to features such as randomization, blinding, clinically appropriate follow-up periods, and
     use of validated and objective measurements tools. The committee will also consider whether studies provide
     credible scientific evidence which permits reasonable conclusions regarding net health outcomes (balance of safety
     and efficacy) and appropriate comparisons to established alternatives. The literature discussed and included in
     policy documents should not be construed to represent all of the scientific evidence available on a topic or reviewed
     in policy development. Publications such as review articles, white papers, case studies, abstracts, and articles not
     published in medical journals indexed in the National Library of Medicine's PubMed database are typically not
     included in policy documents.

     The committee(s) may also consider the service/procedure being reviewed as a standard of care in the medical
     community with supporting documentation.

     The committee(s) is also responsible for reviewing and authorizing the use of Medical Policy used in making
     determinations of medical necessity which are developed by external entities (for example, MCG care guidelines or
     InterQual® criteria).

    Additionally, for topics deemed to represent a significant change or as otherwise required by law or accreditation,
    the OMPTA team seeks additional input from selected experienced clinicians. This process allows MPTAC access
    to the expertise of a wide variety of specialists and subspecialists from across the United States. These individuals
    are board certified providers who are identified either with the assistance of an appropriate professional medical
    specialty society, by activity in a participating academic medical center or by participation in a corporate affiliated
    network. While the various professional medical societies may collaborate in this process through the provision of
    appropriate reviewers, the input received represents NEITHER an endorsement by the specialty society NOR an
    official position of the specialty society. MPTAC uses this information in the context of all other information
    presented from various sources.
     Federal and State law, as well as contract language, including definition, anu spc.ilic coma :ct p: \i,i ~ns ezcIusi ~n;, ta'.c prcccccncc oci Mcutcai i'ulic` and
     must be considered first in determining eligibility for coverage. The member's contract benelits in effect on the date that services are rendered must be used.
     Medical Policy, which addresses medical efficacy, should be considered before utilizing medical opinion in adjudication. Medical technology is constantly
     evolving, and we reserve the right to review and update Medical Policy periodically.

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    Medical Policy                                                                                                                         ADMIN.00001
     Medical Policy Formation

    Medical Policy may be developed and approved or revised between scheduled MPTAC meetings, when there is a
    need to do so prior to the next scheduled meeting of MPTAC. The research associates of OMPTA will develop the
    draft Medical Policy and request input from appropriate consultant providers, and if applicable, the relevant
    subcommittee. An ad-hoc interim MPTAC meeting or vote is scheduled to review and vote on the proposed interim
    Medical Policy. Policies presented on an interim basis (whether approved, modified or rejected) may be presented
    for full review and discussion at the next scheduled MPTAC meeting when additional committee input is required
    (for example, additional clinical input is received).

     In the absence of specific Medical Policy, case-by-case individual review is undertaken. A physician designated by
     the health plan will review the request using the technology assessment criteria and appropriate standards that may
     include, but arc not limited to, any of the following: peer-reviewed literature, other organizations' technology
     evaluations, Agency for Healthcare Research and Quality (AHRQ), various medical specialty societies' guidelines
     and assessments, and the clinician's professional judgment. Refer to the following document for additional
     information: ADMIN.00006 Review of Services for Benefit Determinations in the Absence of a Company
     Applicable Medical Policy or Clinical Utilization Management (UM) Guideline.

     All existing Medical Policies are reviewed at least annually through MPTAC to determine continued applicability,
     appropriateness, and whether there is a need for revision, updates to citations, or other changes.

    Medical Policies approved by MPTAC are also communicated throughout the company for inclusion in the benefit
    plan and for implementation of supporting processes. These communication processes include:
    • Attendance of key associates at MPTAC meetings;
    • Teleconferences with and written documentation to medical operations associates, medical directors, claims
        and network relations associates;
    • Provision of MPTAC meeting minutes and other relevant documentation to health plan leadership.

     Medical Policy decisions affecting our members are reported by our health plans to and reviewed for input by the
     appropriate physician quality committees, which have the responsibility for reviewing MPTAC activities.

     Index

     Medical Policy & Technology Assessment Committee
     MPTAC
     Office of Medical Policy & Technology Assessment
     OMPTA
     Specialty pharmaceuticals

    Document History

      Status               Date                    Action
      Revised              11/05/2020              Medical Policy & Technology Assessment Committee (MPTAC) review.
                                                   Added text in Scope section regarding evidence review process.
      Reviewed             08/13/2020              MPTAC review.
      Revised              11/07/2019              MPTAC review. Updated text in Scope regarding services addressed and
     Federal and State law, as well as cunnaLa Icnguage, irciud ng definition, and sprcillc cul l act tansi,wns czciusn n;, a;ic prcccccncc as 1lccical i ulic` and
     must be considered first in determining eligibility for coverage. The member's contract benefits in effect on the date that services are rendered must be used.
     Medical Policy, which addresses medical efficacy, should be considered before utilizing medical opinion in adjudication. Medical technology is constantly
     evolving, and we reserve the right to review and update Medical Policy periodically.

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    Medical Policy                                                                                                                         ADMIN.00001
     Medical Policy Formation
                                                  subspecialty committees.
      Revised              11/08/2018             MPTAC review. Updated Description/Scope section concerning MPTAC
                                                  membership to include BH specialists. Updated text regarding subspecialty
                                                  committees, including removal of BH subcommittee. Clarified TPC
                                                  subcommittee may include BH specialists. Updated Index section.
      Revised              01/25/2018             MPTAC review. Updated Description/Scope concerning MPTAC and
                                                  subspecialty committee voting membership, clarified that non-voting members
                                                  may include internal medical directors, added details regarding third party
                                                  criteria subcommittee, and revised text related to topics brought to interim
                                                  meetings.
      Revised              11/02/2017             MPTAC review. The document header wording updated from "Current
                                                  Effective Date" to "Publish Date." Clarification made in the Dcscription/Scopc
                                                  section.
      Revised              02/02/2017             MPTAC review. Minor typographical revisions made to the Description
                                                  section.
      Reviewed             02/04/2016             MPTAC review.
      Revised              02/05/2015             MPTAC review. Clarifications to the Description/Scope section.
      Revised              02/13/2014             MPTAC review. Updated Description/Scope concerning MPTAC voting
                                                  membership and specialist/practitioner involvement in the MPTAC decision-
                                                  making process.
      Revised              08/08/2013             MPTAC review. Updates to the Description/Scope to include a statement
                                                  addressing committee(s) responsibility for reviewing and authorizing the use of
                                                  Medical Policy. Additional format revisions and clarifications throughout the
                                                  document.
      Revised              08/09/2012             MPTAC review. Clarifications to the Description section with reference to
                                                  ADMIN.00004 and ADMIN.00005.
      Revised              11/17/2011             MPTAC review. Clarified names of specific departments within the
                                                  organization. Revised wording throughout the document including the annual
                                                  review process statement.
      Revised              11/18/2010             MPTAC review. Addition of acronyms for specific organizations including the
                                                  Office of Medical Policy & Technology Assessment (OMPTA) to the
                                                  Description/Scope and Index. Revised title for ADMIN.00006 to Review of
                                                  Services for Benefit Determinations in the Absence of a Company Applicable
                                                  Medical Policy or Clinical Utilization Management (UM) Guideline.
      Reviewed             11/19/2009             MPTAC review.
      Reviewed             11/20/2008             MPTAC review. Removed the word experimental from the Description/Scope
                                                  statement.
      Revised              11/29/2007             MPTAC review. Addition of reference to subcommittees.
      Revised              12/07/2006             MPTAC review. Clarification to wording and removal of procedural
                                                  information.
      Revised              12/01/2005             MPTAC review. Reference to ADMIN.00006 added; deleted Hayes, Inc. as
                                                  reference when there is no medical policy or clinical guideline available.
      Revised              09/22/2005             MPTAC review.
                                                  1. Included statement regarding MPTAC voting member's requirement to
                                                      disclose potential conflicts of interest and the reclusion of their associated

     Federal and State law, as well as cunnaLa Icnguage, irciud ng definition, and sprcillc cul l act tansi,wns uzciusn n;, taic prcccccncc as 1lccical folic` and
     must be considered first in determining eligibility for coverage. The member's contract benelits in effect on the date that services are rendered must be used.
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    Medical Policy                                                                                                                         ADMIN.00001
     Medical Policy Formation
                                                      vote on the relevant medical policy where a conflict of interest has been
                                                      disclosed.
                                                   2. Modified wording specific to the section beginning "In the absence of
                                                      specific medical policy..." to align with the Settlement Agreement
                                                      requirements on Initial Determinations (7.14 a).
      Reviewed             07/14/2005              MPTAC review. Revision based on Pre-merger Anthem and Pre-merger
                                                   WellPoint Harmonization.

      Pre-Merger Organizations                         Last Review Date                   Document                    Title
                                                                                          Number
      Anthem, Inc.                                                                        No prior
                                                                                          document
      WellPoint Health Networks, Inc.                          09/23/2004                                             Medical Policy and Technology
                                                                                                                      Assessment — Policy Formation




     Federal and State law, as well as cunnaLa Icnguage, irciud ng definition, and sprcillc cul l act tansi,wns czciusn n;, taic prcccccncc as 1lccical i ulic` and
     must be considered first in determining eligibility for coverage. The member's contract benelits in effect on the date that services are rendered must be used.
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    Anthem                                                                           Medical Policy
    Subject:   Medical Necessity Criteria
    Document #:ADMIN.00004H                                Current Effective Date:     10/04/2016
    Status:    Reviewed (Historic as of 09/27/2017)        Last Review Date:           08/04/2016


    THESE CRITERIA ARE USED IN THE DEVELOPMENT AND UPDATING OF MEDICAL POLICIES AND
    CLINICAL UM GUIDELINES. AS THESE CRITERIA MAY NOT BE THE CRITERIA USED IN THE DEFINITION
    OF MEDICAL NECESSITY WITHIN THE COVERED INDIVIDUAL'S PLAN DOCUMENT, THE DEFINITION IN
    THE COVERED INDIVIDUAL'S PLAN DOCUMENT IS TO BE USED FOR BENEFIT DETERMINATIONS. (SEE
    COVERED INDIVIDUAL'S BENEFIT PLAN FOR SPECIFIC CONTRACT LANGUAGE.)

    Definitions

    "Medically Necessary" services are procedures, treatments, supplies, devices, equipment, facilities or
    drugs (all services) that a medical practitioner, exercising prudent clinical judgment, would provide to a
    covered individual for the purpose of preventing, evaluating, diagnosing or treating an illness, injury or
    disease or its symptoms, and that are:

      • in accordance with generally accepted standards of medical practice; and
      • clinically appropriate in terms of type, frequency, extent, site and duration and considered
        effective for the covered individual's illness, injury or disease; and
      • not primarily for the convenience of the covered individual, physician or other health care
        provider; and
      • not more costly than an alternative service or sequence of services at least as likely to produce
        equivalent therapeutic or diagnostic results as to the diagnosis or treatment of that covered
        individual's illness, injury or disease.

    For these purposes, "generally accepted standards of medical practice" means standards that are
    based on credible scientific evidence published in peer-reviewed medical literature generally
    recognized by the relevant medical community, national physician specialty society recommendations
    and the views of medical practitioners practicing in relevant clinical areas and any other relevant
    factors.

    Index

    Medical Necessity
    Medical Necessity Criteria
    Medically Necessary

    Document History

      Status      Date                               Action




   https://pulse.antheminc.com/webcenter/portal/medpolicy/pages historicalmedicalpolicydetailvi... 11/30/2020
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   Historical Medical Policy Detail View                                                          Page 2 of 2
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    Historic   09/27/2017 Not to be used for dates of service on or after
                          09/27/2017.
    Reviewed 08/04/2016 Medical Policy & Technology Assessment Committee
                        (MPTAC) review.
    Reviewed 08/06/2015 MPTAC review.
    Revised 08/14/2014 MPTAC review. Clarification to header.
    Reviewed 08/08/2013 MPTAC review.
    Reviewed 08/09/2012 MPTAC review.
    Revised 08/18/2011 MPTAC review. Clarification to header.
    Reviewed 08/19/2010 MPTAC review. Changed title to Medical Necessity
                        Criteria. Index updated.
             05/27/2010 Clarification to header.
    Revised 08/27/2009 MPTAC review.
    Reviewed 11/20/2008 MPTAC review.
    Reviewed 11/29/2007 MPTAC review.
    Reviewed 12/07/2006 MPTAC review. No change to position.
    Revised    12/01/2005 MPTAC review.

          Pre-Merger          Last Review Document
                                                                     Title
         Organizations           Date      Number

    Anthem, Inc.                  N/A      N/A          Definition: Medically
                                                        Necessary or Medical
                                                        Necessity
    WellPoint Health          09/22/2005 Definitions ii Definition: Medically
    Networks, Inc.                                      Necessary

    Federal and State law, as well as contract language, including definitions and specific contract
    provisions/exclusions, take precedence over Medical Policy and must be considered first in determining
    eligibility for coverage. The member's contract benefits in effect on the date that services are rendered
    must be used. Medical Policy, which addresses medical efficacy, should be considered before utilizing
    medical opinion in adjudication. Medical technology is constantly evolving, and we reserve the right to
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   https://pulse.antheminc.com/wcbcenter/portal/mcdpolicy/pagcs_historicalmedicalpolicydetailvi... 11/30/2020
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